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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

_____________________________________________

SCOTTSDALE CAPITAL ADVISORS
CORPORATION, ET AL.,
       Plaintiffs,
v.                                                     Case No.: 16-cv-860-DKC

FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.,
      Defendant.
_____________________________________________


     MEMORANDUM OF LAW OF THE SECURITIES AND EXCHANGE COMMISSION, AMICUS CURIAE,
                     IN SUPPORT OF FINRA’S MOTION TO DISMISS




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              INTEREST OF THE SECURITIES AND EXCHANGE COMMISSION

       The Securities and Exchange Commission (“Commission”), the agency principally responsible

for the administration and enforcement of the federal securities laws, submits this amicus curiae brief to

address an important issue concerning the comprehensive exclusive review scheme set forth in the

Securities Exchange Act of 1934, 15 U.S.C. §§ 78y(a), 78o-3(h), 78s(d) (“Exchange Act”), that governs

the administrative and judicial review of disciplinary proceedings initiated by the Financial Industry

Regulatory Authority (“FINRA”). The issue arises in this case because plaintiffs ask this Court to upend

Congress’s statutory scheme and instead bar FINRA at the outset from continuing the disciplinary

proceeding it has initiated against them.

       FINRA instituted that disciplinary proceeding to assess the merits of a complaint brought by

FINRA’s Department of Enforcement alleging that plaintiffs violated FINRA Rule 2010—which

requires member firms and associated persons to “observe high standards of commercial honor and just

and equitable principles of trade”—by offering and selling unregistered securities. Under the Exchange

Act, those allegations must first be adjudicated by FINRA. See 15 U.S.C. § 78o-3(h). If FINRA issues

a disciplinary sanction, the Commission will upon timely request by plaintiffs (and may on its own

initiative) review FINRA’s decision. See id. § 78s(d)-(e). Thereafter, if plaintiffs challenge the

Commission’s resulting final order, they have a statutory right to appeal to a federal court of appeals,

and the “jurisdiction” of the court is “exclusive.” Id. § 78y(a)(1), (a)(3).

       Plaintiffs attempt to circumvent that process because, they contend, FINRA is acting outside the

scope of its authority under the Exchange Act by bringing a disciplinary proceeding in which it alleges

that plaintiffs have violated Rule 2010 by engaging in conduct that would constitute a violation of the

Securities Act of 1933, 15 U.S.C. § 77a, et seq. Plaintiffs thus ask this Court to shut down FINRA’s
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proceedings before FINRA has issued its decision on the merits of the disciplinary action against

plaintiffs—including any resolution of plaintiffs’ argument that FINRA’s interpretation of Rule 2010 is

impermissible—and before the Commission has had an opportunity to review any such determination,

let alone has issued a final order subject to judicial review. But the relief plaintiffs seek in this Court

ignores Congress’s choice in the Exchange Act to establish a detailed statutory scheme that channels

review of disciplinary sanctions issued by self-regulatory organizations first through an administrative

process before the Commission and then to a court of appeals. See, e.g., Heath v. SEC, 586 F.3d 122,

130-39 (2d Cir. 2009) (reviewing Commission order sustaining NYSE disciplinary sanction under

NYSE’s “just and equitable principles of trade” rule). Congress, by contrast, gave federal district courts

no role in that exclusive review scheme. The Commission has a substantial interest in, and unique

insights into, the proper meaning and scope of that scheme. 1

                                     STATUTORY BACKGROUND

       Congress created an extensive scheme governing the Commission’s oversight of self-regulatory

organizations, including actions by self-regulatory organizations to discipline their members. FINRA is

a self-regulatory organization created in 2007 through the consolidation of the member firm regulatory

functions of the National Association of Securities Dealers (“NASD”) and the member firm regulatory

and enforcement functions and employees of NYSE Regulation, Inc. (“NYSE”). See Exchange Act




1
  Because plaintiffs raise substantive arguments before this Court that they are also raising in FINRA
disciplinary proceedings subject to review by the Commission, prudential concerns counsel against our
taking a position on the merits of those claims before the Commission has had the opportunity to rule on
them in the first instance. That this brief does not address the merits of those claims therefore should not
be interpreted as providing the Commission’s position as to their validity.


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Release No. 56146 (July 26, 2007), 72 Fed. Reg. 42,190 (Aug. 1, 2007). 2 FINRA is a not-for-profit

corporation registered with the Commission as a national association of broker-dealers under the

Exchange Act. 15 U.S.C. § 78o-3. As required by the Act, FINRA has adopted rules to regulate its

member firms and their associated persons. See id. § 78o-3(b); id. § 78s(b). The Commission exercises

supervision over any proposed change to FINRA’s rules and also has the authority to abrogate, add to,

and delete from FINRA’s rules. See id. § 78s(b), (c). FINRA is statutorily authorized to initiate

disciplinary proceedings against member firms and associated persons for suspected violations of its

rules, as it has done with plaintiffs in this case. Id. § 78o-3(b)(7), (h).

        The Exchange Act prescribes a comprehensive, multi-tiered process for administrative and

judicial review of FINRA’s disciplinary proceedings. The Act specifies that such proceedings are

initially adjudicated by FINRA. 15 U.S.C. § 78o-3(h). Any proceeding in which FINRA issues a

“disciplinary sanction” is then subject to Commission review either upon application of an “aggrieved”

party to the proceeding or on the Commission’s “own motion.” Id. § 78s(d). The Commission must

then make an independent determination as to liability, including, among other findings, whether

FINRA’s determination was in accordance with its rules, and whether those rules are, and were applied

in a manner, consistent with the purposes of the Exchange Act. Id. § 78s(e)(1)(A). The Commission

may “affirm the sanction” or “cancel, reduce, or require the remission of [any] sanction,” if the

Commission determines that the sanction “imposes any burden on competition not necessary or

appropriate” or is “excessive or oppressive.” Id. § 78s(e)(2). The Commission may also remand to

FINRA for further proceedings. Id. § 78s(e)(1)-(2). Finally, any party who is aggrieved by a resulting



2
  The NASD and NYSE had been subject to the Commission’s oversight for decades. See, e.g., NASD,
Inc., Exchange Act Release No. 3700, 1945 WL 26103 (June 11, 1945).


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final order of the Commission sustaining a FINRA sanction may appeal to a federal court of appeals. Id.

§ 78y(a)(1).

       The judicial review provision of the Exchange Act provides that

               [a] person aggrieved by a final order of the Commission entered pursuant to this
               chapter may obtain review of the order in the United States Court of Appeals for
               the circuit in which he resides or has his principal place of business, or for the
               District of Columbia Circuit, by filing in such court, within sixty days after the
               entry of the order, a written petition requesting that the order be modified or set
               aside in whole or in part.

Id. Upon the filing of a petition for review, the court of appeals shall have jurisdiction, which becomes

“exclusive” on the filing of the record, “to affirm or modify and enforce or to set aside the order in

whole or in part.” Id. § 78y(a)(3). The Exchange Act sets forth a comprehensive process for seeking

such review, specifying, for example, what constitutes the agency record, id. § 78y(a)(2); the standard of

review, id. § 78y(a)(4); and the process for seeking a stay of the Commission order either before the

Commission or in the court of appeals, id. § 78y(c)(2). There is no provision in the Exchange Act that

provides for review of FINRA action or a subsequent Commission order in federal district court.

                                              ARGUMENT

I.     The Exchange Act provides an exclusive avenue for review that plaintiffs may not bypass
       by filing suit in district court.

       Congress has allocated the initial resolution of legal questions arising in FINRA disciplinary

proceedings to administrative review by the Commission followed, if necessary, by direct review in a

court of appeals. The Exchange Act’s comprehensive and specialized scheme of judicial review leaves

no room for parallel district court proceedings such as those plaintiffs have initiated here.




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       A.      Under Supreme Court jurisprudence, district court jurisdiction is precluded where
               it is “fairly discernible in the statutory scheme” that Congress intended to channel
               judicial review through the administrative process.

       The issue raised by plaintiffs’ suit—whether a respondent in a FINRA disciplinary proceeding

must challenge that proceeding under the specific statutory review procedure Congress established in the

Exchange Act or may alternatively bring suit in district court under the general federal-question-

jurisdiction statute—is a question of channeling. See, e.g., Shalala v. Illinois Council on Long Term

Care, 529 U.S. 1, 13 (2000); Bebo v. SEC, 799 F.3d 765, 767 (7th Cir. 2015), cert. denied, 84 U.S.L.W.

3438 (Mar. 28, 2016). And the Supreme Court has explained that channeling judicial review through an

agency’s administrative process “is not only of unquestionable constitutionality,” but “is also manifestly

reasonable” because it gives an agency the first opportunity to resolve a plaintiff’s objections while still

allowing for judicial review at the end of the administrative process. Weinberger v. Salfi, 422 U.S. 749,

762 (1975).

       Consistent with that goal, rather than requiring a “heightened standard” or “clear statement from

Congress that it intended to foreclose judicial review in any forum,” the Supreme Court and numerous

courts of appeals have explained that the operative inquiry is “whether it is ‘fairly discernible’ from the

statute that Congress intended the plaintiff[s] to proceed exclusively through the statutory review

scheme.” Bebo, 799 F.3d at 768-69 & n.1 (quoting Elgin v. Dep’t of the Treasury, 132 S. Ct. 2126,

2132-33 (2012)); see also Jarkesy v. SEC, 803 F.3d 9, 16 (D.C. Cir. 2015) (“[C]ourts determine that

Congress intended that a litigant proceed exclusively through a statutory scheme of administrative and

judicial review when (i) such intent is ‘fairly discernible in the statutory scheme,’ and (ii) the litigant’s

claims are ‘of the type Congress intended to be reviewed within [the] statutory structure.’ ”) (quoting

Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 212 (1994)); Nat’l Taxpayers Union v. United



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States Social Security Admin., 376 F.3d 239, 241 (4th Cir. 2004) (In determining “whether Congress

intended to preclude initial judicial review” by a district court, a court considers “the statute’s language,

structure, and purpose, its legislative history, and whether the claims can be afforded meaningful judicial

review.” (quotation marks omitted)).

       In Thunder Basin, for example, the Supreme Court concluded that Congress required the

petitioner’s challenges to an anticipated enforcement proceeding to be channeled through procedures

provided by the Federal Mine Safety and Health Amendments Act of 1977 (the “Mine Act”). 510 U.S.

at 202-16. Those procedures routed challenges to agency enforcement proceedings through an

administrative review process with judicial review in the court of appeals. Id. at 206. Notwithstanding

that the Mine Act was “facially silent” about whether the scheme was the exclusive route for pressing

“pre-enforcement claims” (i.e., suits brought in advance of any enforcement action by the Department of

Labor), the Court held that the Mine Act’s “comprehensive enforcement structure” evinced “a ‘fairly

discernible’ intent to preclude district court review.” Id. at 202, 208, 216. The Court reasoned that the

Mine Act provided a “detailed structure” for review of enforcement actions and that the petitioner’s

claim could be “meaningfully addressed in the Court of Appeals.” Id. at 207, 215; see id. at 208 (Mine

Act’s structure “demonstrates that Congress intended to preclude challenges such as the present one”).

“To uphold the District Court’s jurisdiction in these circumstances,” the Court held, “would be inimical

to the structure and the purposes of the Mine Act.” Id. at 216.

       In Elgin, which similarly involved a parallel district court challenge to agency action, the

Supreme Court reaffirmed its longstanding view that “the appropriate inquiry is whether it is ‘fairly

discernible’ from the [Civil Service Reform Act (“CSRA”)] that Congress intended covered employees

appealing covered agency actions to proceed exclusively through the statutory review scheme, even in



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cases in which the employees raise constitutional challenges to federal statutes.” 132 S. Ct. at 2132-33

(quoting Thunder Basin, 510 U.S. at 207). “To determine whether it is ‘fairly discernible’ that Congress

precluded district court jurisdiction over petitioners’ claims,” the Court applied its earlier decisions in

examining the statute’s “text, structure, and purpose.” Id. at 2133 (citing Thunder Basin, 510 U.S. at

207). The Court concluded that “the CSRA’s ‘elaborate’ framework . . . indicates that extrastatutory

review is not available to those employees to whom the CSRA grants administrative and judicial

review.” Id. (emphasis omitted). Consequently, the Court held that the district court lacked jurisdiction

to hear the employees’ challenges. Id.

       B.      It is “fairly discernible” that Congress intended to channel administrative review of
               FINRA disciplinary sanctions through the Commission, with judicial review from
               an adverse Commission order available exclusively in the courts of appeals.

       Courts have recognized that the Exchange Act channels review of challenges to Commission

administrative enforcement proceedings through the Commission, with judicial review available

exclusively in the courts of appeals. The Exchange Act provides a materially indistinguishable scheme

for review of challenges to FINRA disciplinary sanctions. And for the same reasons identified in the

recent decisions by the D.C. Circuit in Jarkesy and the Seventh Circuit in Bebo, it is “fairly discernible”

from this administrative and judicial review scheme that Congress intended to preclude district court

challenges—like plaintiffs’—which attempt to circumvent ongoing FINRA disciplinary proceedings and

Commission review.

       As the D.C. Circuit explained in Jarkesy, the Exchange Act provides a “comprehensive structure

for the adjudication of securities violations in administrative proceedings” that is “nearly identical,” 803

F.3d at 16, to the Mine Act’s review provisions that the Supreme Court held to be exclusive in Thunder

Basin. Similar to the Mine Act, the Exchange Act grants the Commission the authority to file an



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administrative proceeding for potential securities violations, and provides for review in the appropriate

“court of appeals” which shall exercise “exclusive” jurisdiction “to affirm or modify and enforce or to

set aside such order, in whole or in part.” 15 U.S.C. § 78y(a). As in the Mine Act, those review

provisions also prescribe a comprehensive process for what constitutes the agency record, id. §

78y(a)(2); the standard of review, id. § 78y(a)(4); the process for seeking a stay of the Commission

order either before the Commission or in the court of appeals, id. § 78y(c)(2); as well as the process for

seeking to “adduce additional evidence” or for the appellate court to remand for further proceedings

before the Commission, as appropriate. Id.; see Jarkesy, 803 F.3d at 16-17 (comparing the Mine Act’s

and the Exchange Act’s administrative and judicial review provisions). “ ‘Given the painstaking detail

with which’ Congress set forth the rules governing the court of appeals’ review of Commission action,”

the D.C. Circuit held, “ ‘it is fairly discernible that Congress intended to deny [aggrieved respondents]

an additional avenue of review in district court.’ ” Jarkesy, 803 F.3d at 17 (quoting Elgin, 132 S. Ct. at

2134).

         The Seventh Circuit reached the same conclusion in Bebo when it rejected similar jurisdictional

arguments to those plaintiffs raise, ruling that “[i]t is ‘fairly discernible’ from the statute that Congress

intended plaintiffs in Bebo’s position ‘to proceed exclusively through the statutory review scheme’ set

forth” in the federal securities laws. 799 F.3d at 767. The court found “no evidence from the statute’s

text, structure, and purpose that Congress intended for plaintiffs . . . who are already subject to ongoing

administrative enforcement proceedings to be able to stop those proceedings” in a parallel district court

action. Id. at 775; see also Bennett v. SEC, — F. Supp. 3d. —, 2015 WL 9183445, at *2 (D. Md. Dec.

17, 2015) (“[F]ollowing Bebo and Jarkesy, it appears that Congress’s intent to limit district court

jurisdiction is fairly discernible.”).



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        The same conclusion follows under the exclusive review scheme that governs FINRA

disciplinary proceedings. As set forth above (see pp. 2-4, supra), FINRA is statutorily authorized to

initiate disciplinary proceedings against its member firms and associated persons, and to initially

adjudicate any alleged violations. 15 U.S.C. § 78o-3(b)(7), (h). A disciplinary sanction imposed by

FINRA is then subject to review by the Commission, which applies specified standards of review. See

id. § 78s(d), (e).

        Section 25 of the Exchange Act—the identical provision that governed judicial review in Jarkesy

and Bebo—vests the courts of appeals with “exclusive” jurisdiction to review a Commission decision

sustaining FINRA sanctions. 15 U.S.C. § 78y(a)(1), (a)(3). It provides that “[a] person aggrieved by a

final order of the Commission entered pursuant to this chapter may obtain review of the order in the

United States Court of Appeals for the circuit in which he resides or has his principal place of business,

or for the District of Columbia Circuit.” Id. § 78y(a)(1). To obtain review, an aggrieved party must

“fil[e] in such court, within sixty days after the entry of the order, a written petition requesting that the

order be modified or set aside in whole or in part.” Id. Pursuant to the Exchange Act, the Commission’s

final order sustaining a FINRA-imposed sanction—not FINRA’s order, and certainly not FINRA’s

decision to initiate the disciplinary proceeding—is the subject of judicial review by the court of appeals.

Id. § 78y(a)(3).

        The Exchange Act evinces the same “painstaking detail with which Congress set forth the rules

governing the court of appeals’ review of Commission action” that led the D.C. Circuit in Jarkesy to

conclude that “it is fairly discernible that Congress intended to deny [aggrieved respondents] an

additional avenue of review in district court.” 803 F.3d at 17 (referring to the statutory provisions

setting forth the standard of review, the process for seeking a stay of the Commission’s order, and the



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process for seeking a remand to the Commission to adduce additional evidence—all of which apply

equally to review of a Commission order sustaining a self-regulatory organization’s disciplinary

sanction) (quotation marks omitted). Thus, as in Jarkesy, “the securities laws provide an exclusive

avenue for judicial review that [plaintiffs] may not bypass by filing suit in district court.” Id. at 30.

        C.      The proper basis for dismissal is the failure to comply with Congress’s exclusive
                review scheme, not the failure to exhaust administrative remedies.

        Courts have long recognized that district courts lack subject matter jurisdiction over a party’s

challenge to ongoing FINRA (formerly NASD) disciplinary proceedings. See, e.g., Swirsky v. NASD,

124 F.3d 59, 62-64 (1st Cir. 1997); First Jersey Sec., Inc. v. Bergen, 605 F.2d 690, 694-96 (3d Cir.

1979); North v. Smarsh, Inc., — F. Supp. 3d —, 2015 WL 8023999, at *12-13 (D.D.C. Dec. 4, 2015);

Santos-Buch v. FINRA, 32 F. Supp. 3d 475, 483-85 (S.D.N.Y. 2014), aff’d, 591 F. App’x 32 (2d Cir.

2015); Charles Schwab & Co. v. FINRA, 861 F. Supp. 2d 1063, 1069-78 (N.D. Cal. 2012); CleanTech

Innovations v. NASDAQ Stock Mkt., LLC, No. 11-civ-9358, 2012 WL 345902, at *1 (S.D.N.Y. Jan. 31,

2012). In many of those cases, however, courts have dismissed the actions based on the “doctrine of

exhaustion of administrative remedies” rather than the failure to follow Congress’s exclusive review

scheme. Compare Swirsky, 124 F.3d at 62 (dismissing for lack of subject matter jurisdiction because

“the doctrine of exhaustion of administrative remedies should be applied to prevent circumvention of

established procedures”) (quotation marks omitted), with CleanTech, 2012 WL 345902, at *1

(dismissing for lack of subject matter jurisdiction because the Exchange Act’s “specific and

comprehensive scheme for reviewing disciplinary actions taken by self-regulatory organizations” was

“the ‘exclusive route’ for obtaining [such] review”).

        Following Thunder Basin and Elgin, the Commission believes that the proper basis for dismissal

in those cases (and in this case) is the jurisdictional defect due to the party’s failure to adhere to


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Congress’s exclusive review scheme. The Supreme Court’s decisions in Thunder Basin and Elgin do

not invoke “exhaustion” as a justification for holding that district court jurisdiction was precluded by the

statutory review schemes involved there, nor did the Court endeavor to determine whether any

recognized exceptions to the doctrine applied in those cases. Likewise, the D.C. Circuit in Jarkesy and

the Seventh Circuit in Bebo did not rely on plaintiffs’ failure to exhaust their administrative remedies in

justifying their jurisdictional rulings under the Exchange Act’s review scheme. Rather, those cases all

stand for the proposition that a district court lacks subject matter jurisdiction where, as here, a party fails

to comply with Congress’s exclusive administrative and judicial review scheme. 3

       Failure to exhaust administrative remedies is not another way of describing—or an analytical

analog for—the failure to follow Congress’s exclusive review scheme. Dismissing a claim for a

plaintiff’s failure to exhaust suggests that subject matter jurisdiction would lie in this Court if the

plaintiffs did exhaust their remedies. But because “[i]t is settled that when Congress has chosen to

provide the circuit courts with exclusive jurisdiction over appeals from agency [actions], the district

courts are without jurisdiction” to entertain such suits, Virginia v. United States, 74 F.3d 517, 523 (4th

Cir. 1996) (quotation marks omitted), the Exchange Act’s exclusive review scheme precludes that result.

Here, “Section 25(a) of the [Exchange Act, 15 U.S.C. § 78y], which affords the sole basis of any judicial

review, refers to a Commission order only.” R.H. Johnson & Co. v. SEC, 198 F.2d 690, 694-95 (2d Cir.

1952). And that provision vests “exclusive” jurisdiction in the courts of appeals, Jarkesy, 803 F.3d at

16, not in the district courts. In other words, this Court will never have jurisdiction to review an adverse



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  Nor did the Supreme Court base its jurisdictional holding in Free Enterprise Fund v. Public Co.
Accounting Oversight Bd., 561 U.S. 477 (2010), on any exception to the statutory exhaustion doctrine.
Rather, as discussed infra Section II, the Court held that plaintiffs’ challenge fell outside of the statutory
review scheme. Id. at 487, 490.


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Commission order sustaining a FINRA disciplinary sanction, let alone over a plaintiff’s challenge to

FINRA’s initiation of disciplinary proceedings. That is true whether or not plaintiffs exhaust their

administrative remedies before FINRA and the Commission. This Court thus need not examine the

contours of the exhaustion doctrine or any potential exceptions to that doctrine (see Pl. Mem. 12-15;

FINRA Br. 10, 17-21) as a basis for dismissal.

II.    Plaintiffs’ action does not fall outside of this exclusive review scheme.

       Plaintiffs assert that their claims are not “of the type Congress intended to be reviewed within

this statutory structure,” Thunder Basin, 510 U.S. at 212, because, they contend, judicial review

following their disciplinary proceeding will not be meaningful and because their claims are wholly

collateral to the review provisions of the Act and fall outside of the Commission’s area of expertise. See

Elgin, 132 S. Ct. at 2136 (court should “presum[e] that Congress does not intend to limit [district court]

jurisdiction if ‘a finding of preclusion could foreclose all meaningful judicial review’; if the suit is

‘wholly collateral to a statute’s review provisions’; and if the claims are ‘outside the agency’s

expertise’ ”) (quoting Free Enterprise, 561 U.S. at 489). None of these arguments has merit.

       A.      Plaintiffs can obtain meaningful review of their claims.

       The review scheme does not foreclose all meaningful review of plaintiffs’ claims; rather, it

ensures it. Plaintiffs seek “an order and judgment preliminarily and permanently enjoining FINRA from

continuing the disciplinary proceeding against Plaintiffs (FINRA Case No. 2014041724601).” Compl.

at 19 (Prayer For Relief). The object of plaintiffs’ suit is thus to set aside the proceeding currently

pending before FINRA. But there is no dispute that if they are ultimately aggrieved by a “final order of

the Commission” sustaining a FINRA-imposed sanction, they may immediately seek judicial review of

that Commission order pursuant to the jurisdiction-channeling provision in the Exchange Act. 15 U.S.C.



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§ 78y; see Compl. ¶ 14 (“The Exchange Act states that the disciplinary decisions of self-regulatory

organizations like FINRA are subject to review, first by the SEC and then by a federal court of

appeals.”).

       The court of appeals, in turn, can decide whether to grant the relief plaintiffs seek by setting

aside any Commission final order issued against them, after considering the claims that are the subject

of this suit and any other grounds for appeal that plaintiffs may raise. As the Seventh Circuit has made

clear, the ability to have a claim meaningfully addressed by a court of appeals is the “most critical”

factor in determining whether channeling through an exclusive review scheme is appropriate. Bebo, 799

F.3d at 774; see also Nat’l Taxpayers Union, 376 F.3d at 244 (plaintiff’s claims “must be adjudicated

initially under the administrative review scheme established by Congress in the statute” where the

administrative process provided “a meaningful opportunity to litigate [plaintiff’s] constitutional

challenge” and that challenge would reach the court of appeals “at the appropriate time”); Bennett

       , 2015 WL 9183445, at *1 (“Courts weigh the first factor most heavily.”); CleanTech, 2012 WL

345902, at *2 (“Most importantly . . . should plaintiff disagree with the SEC’s ultimate assessment, it

can appeal it to the Court of Appeals, where ‘any constitutional challenge raised in [the] administrative

proceedings will be meaningfully addressed.’ ”).

       Plaintiffs principally rely on Free Enterprise, where the Supreme Court considered whether

Exchange Act Section 25, 15 U.S.C. § 78y, foreclosed review of an Article II challenge to the Public

Company Accounting Oversight Board. In that case, an accounting firm had sought a declaration that

the Accounting Board was unconstitutional on the ground that the “Board’s existence” violated the

Appointments Clause and the separation of powers. 561 U.S. at 487, 490. Emphasizing considerations

not present here (that are discussed in detail below), the Court concluded that unless petitioners could



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proceed in district court, “[w]e do not see how petitioners could meaningfully pursue their constitutional

claims.” Free Enterprise, 561 U.S. at 490. The Court first noted that “Section 78y provides only for

judicial review of Commission action, and not every Board action is encapsulated in a final Commission

order or rule.” Id. Here, by contrast, there is no dispute that the ongoing disciplinary proceedings, if

ultimately adverse to plaintiffs, will result in a “final Commission order” appealable to a federal court of

appeals. See Jarkesy, 803 F.3d at 20 (explaining that “should the Commission’s final order run against

[Jarkesy], a court of appeals is available to hear those challenges” and that “[t]hus, by contrast to Free

Enterprise, the SEC scheme presents an entirely ‘meaningful’ avenue of relief”).

       The Supreme Court rejected the government’s suggestion that there was a meaningful path to

judicial review because the firm could generate a reviewable Commission order by seeking Commission

review of a Board rule or incurring a sanction. Free Enterprise, 561 U.S. at 490. The Court explained

that the firm could not properly be required “to select and challenge a Board rule at random” and—in

that sense—the firm’s challenge “to the Board’s existence” was “ ‘collateral’ to any Commission orders

or rules from which review might be sought.” Id. The Court added that “[r]equiring petitioners to select

and challenge a Board rule at random” would be “an odd procedure for Congress to choose,” and would

be especially odd “because only new rules, and not existing ones, are subject to challenge.” Id. The

Court next rejected the alternative contention that petitioners could refuse to comply with a Board

request and then “raise their claims by appealing a Board sanction,” holding that this did not constitute a

“meaningful avenue of relief” because courts “normally do not require plaintiffs to bet the farm . . . by

taking the violative action before testing the validity of the law.” Id. at 490-91 (quotation marks

omitted).




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       Unlike the petitioners in Free Enterprise, plaintiffs here “do[ ] not need to ‘select and challenge a

Board rule at random,’ ” or “ ‘bet the farm . . . by taking the violative action’ before ‘testing the validity

of the law.’ ” Bebo, 799 F.3d at 774; accord Jarkesy, 803 F.3d at 20 (“To have his claims heard through

the agency route, [plaintiff] would not have to erect a Trojan-horse challenge to an SEC rule or ‘bet the

farm’ by subjecting himself to unnecessary sanction under the securities laws.”). Rather, they are

already subjects of a FINRA disciplinary proceeding that, if adverse to them, will culminate in a final,

appealable Commission order. Indeed, plaintiffs’ challenge in this suit is premised on their claim that

FINRA should adopt a narrower interpretation of the very disciplinary rule that is the basis for the

disciplinary proceeding against them. “The oddities that led the Supreme Court to believe that Congress

could not possibly have intended the accounting firm to proceed through the administrative route are not

present in this case.” Jarkesy, 803 F.3d at 20.

       Plaintiffs nonetheless argue (Pl. Mem. 11; Compl. ¶ 16) that federal appellate review of any final

Commission order will not be meaningful because “belated judicial review” would follow “submission

to an unlawful proceeding [that] constitutes the very harm that Plaintiffs seek to avoid.” But it is well

established that any burdens of participating in an agency proceeding do not provide a basis for district

court jurisdiction. “Mere litigation expense, even substantial and unrecoupable cost, does not constitute

irreparable injury,” and the “annoyance of litigation is part of the social burden of living under

government.” Fed. Trade Comm’n v. Standard Oil Co., 449 U.S. 232, 244 (1980) (quotation marks

omitted) (refusing to enjoin enforcement action allegedly inspired by political pressure); see also

Jarkesy, 803 F.3d at 28 (“The only independent harms Jarkesy will face as a result of his continuing to

undergo the Commission proceeding are the burdens abided by any respondent in an enforcement

proceeding or any criminal defendant who must wait for vindication. The judicial system tolerates those



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harms, and they are insufficient for us to infer an exception to an otherwise exclusive scheme.”); USAA

Fed. Sav. Bank v. McLaughlin, 849 F.2d 1505, 1510 (D.C. Cir. 1988) (“Where, as here, the ‘injury’

inflicted on the party seeking review is the burden of going through an agency proceeding, . . . the party

must patiently await the denouement of proceedings within the Article II branch.”).

          There is likewise no merit to plaintiffs’ argument (Pl. Mem. 13) that they should be permitted to

bypass the Exchange Act’s review scheme because they could “succeed on the merits in the FINRA

disciplinary proceeding” and their claims “would evade judicial review altogether.” As the D.C. Circuit

recently explained, the Supreme Court in Standard Oil found that the possibility that the petitioner’s

claims might be mooted if he prevailed before the agency is a good thing because “ ‘one of the principal

reasons to await the termination of agency proceedings . . . is to obviate all occasion for judicial

review.’ ” Jarkesy, 803 F.3d at 27 (quoting Standard Oil, 449 U.S. at 244 n.11). Here, as in Standard

Oil and Jarkesy, “ ‘the possibility that [plaintiffs’] challenge may be mooted in adjudication warrants the

requirement that [they] pursue adjudication, not shortcut it.’ ” Id. (quoting Standard Oil, 449 U.S. at 244

n.11.).

          B.     Plaintiffs’ suit is not “wholly collateral” to the review scheme.

          Plaintiffs incorrectly urge (Compl. ¶ 17) that their claims are “wholly collateral to the review

provisions in the Exchange Act” because they “contest FINRA’s statutory authority to prosecute this

specific disciplinary action, not FINRA’s interpretation of any particular securities law, its factual

findings, or its choice of adjudication forum.” Plaintiffs seek to have the proceeding terminated based

on a contrary interpretation of the FINRA rule they are charged with violating—an argument they are

simultaneously pressing through the FINRA process as a ground for dismissal of the proceeding. As

such, plaintiffs’ suit seeks to achieve the same result that a favorable ruling in the administrative and



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judicial review process would give them. Their suit is thus not “wholly collateral” to the review scheme

but, as in Jarkesy, is the “ ‘vehicle by which’ [they] seek[ ] to prevail in [their] [disciplinary]

proceeding.” Jarkesy, 803 F.3d at 23 (quoting Elgin, 132 S. Ct. at 2139-40).

        Plaintiffs’ further contention (Pl. Mem. 9) that their claims are “wholly collateral” because they

are bringing a “jurisdictional challenge” also fails. The text of the Exchange Act contains no exceptions

to the review scheme, let alone one based on the type of claim at issue. The Supreme Court, moreover,

rejected an analogous argument in Elgin where it declined to create an exception to the exclusive review

scheme at issue there that would have “carve[d] out for district court adjudication only facial

constitutional challenges to statutes,” while requiring as-applied challenges to proceed through the

scheme. 132 S. Ct. at 2135. The Court held that the district court lacked jurisdiction over both types of

constitutional challenges, id. at 2135-37, and declared that “a jurisdictional rule based on the nature of

an employee’s constitutional claim would deprive the aggrieved employee, the [Merit Systems

Protection Board], and the district court of clear guidance about the proper forum for the employee’s

claims at the outset of the case,” id. at 2135. As the D.C. Circuit explained in likewise rejecting a

proposed exception to the Exchange Act’s exclusive review scheme for facial constitutional challenges,

“parsing and categorizing a litigant’s claim at the outset can prove highly difficult” and such an

approach would both “invit[e] unpredictable litigation at the threshold about whether the particular

challenges at issue fall within or without an indistinct category of constitutional claims” and “encourage

respondents in administrative enforcement proceedings to frame their challenges . . . in those terms and

thereby earn access to another forum in which to advance their arguments.” Jarkesy, 803 F.3d at 24-25;

cf. Virginia, 74 F.3d at 523 (holding that district court lacked jurisdiction over plaintiff’s claim because




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the Clean Air Act “channels review of final EPA action exclusively to the courts of appeals, regardless

of how the grounds for review are framed” (emphasis added)).

       Those principles apply with equal force here. Though plaintiffs may frame their claims (Pl.

Mem. 9) as “jurisdictional challenges, which question the fundamental competency of a forum,” they in

fact are asking this court to deploy standard tools of statutory construction to narrow the reach of

FINRA’s disciplinary Rule 2010 to exclude their alleged misconduct. Plaintiffs’ proffered distinction

between “jurisdictional” and other types of statutory challenges is, like the Elgin petitioners’ facial/as-

applied distinction, “hazy at best and incoherent at worst.” 132 S. Ct. at 2135. As the Supreme Court

has noted in a case cited by plaintiffs, “the distinction between ‘jurisdictional’ and ‘nonjurisdictional’

interpretations is a mirage,” for “the question a court faces when confronted with an agency’s

interpretation of a statute it administers is always, simply, whether the agency has stayed within the

bounds of its statutory authority.” City of Arlington v. FCC, 133 S. Ct. 1863, 1868 (2013) (emphasis

omitted). Regardless, courts have concluded that there is no exception in an otherwise exclusive review

scheme even for district court challenges to an agency’s authority labeled as “jurisdictional.” See, e.g.,

Jarkesy, 803 F.3d at 26 (noting that, in McLaughlin, 849 F.2d 1505, the court “dismiss[ed] a bank’s pre-

enforcement suit claiming that an agency was wrongly asserting jurisdiction over it”).

       C.      Plaintiffs’ claims fall squarely within the Commission’s expertise.

       In alleging that FINRA has acted outside the scope of its authority in bringing disciplinary

proceedings against plaintiffs, the claims that plaintiffs bring in their complaint require interpretation of

the federal securities laws and FINRA rules—issues that fall within the Commission’s expertise and that

would therefore benefit from channeling through the administrative process. See Jarkesy, 803 F.3d at 29

(“[T]here are precious few cases involving interpretation of statutes authorizing agency action in which



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our review is not aided by the agency’s statutory construction.” (quoting Mitchell v. Christopher, 996

F.2d 375, 379 (D.C. Cir. 1993)); see also Illinois Council, 529 U.S. at 24 (channeling of claim through

agency process appropriate because “[p]roceeding through the agency in this way provides the agency

the opportunity to reconsider its policies, interpretations, and regulations in light of [plaintiff’s]

challenges”).

        Plaintiffs acknowledge (Pl. Mem. 10) that “[t]he SEC’s expertise concerns the substantive

provisions of the federal securities laws,” but they inexplicably fail to recognize that the interpretation of

those laws is squarely implicated by their suit. Plaintiffs claim that FINRA’s interpretation of Rule

2010—a rule routinely construed by the Commission in its review of FINRA disciplinary sanctions—as

reaching violations of Section 5 of the Securities Act exceeds the scope of FINRA’s authority under the

Exchange Act. The Commission administers both of those statutes. Indeed, in reviewing FINRA’s

disciplinary sanctions, the Commission makes an independent determination whether, among other

things, FINRA’s liability determination decision was consistent with its rules, and whether those rules

are, and were applied in a manner, consistent with the purposes of the Exchange Act. 15 U.S.C.

§ 78s(e)(1)(A); see, e.g., Heath, 586 F.3d at 138-39 (affirming Commission order sustaining NYSE

disciplinary sanction and deferring to Commission’s interpretation of “just and equitable principles of

trade” rule). The Commission’s interpretive views on those securities-law issues would be beneficial to

a reviewing court.

                                               CONCLUSION

        The Court should grant FINRA’s motion to dismiss plaintiffs’ suit for lack of subject matter

jurisdiction.




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                                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2016, I electronically filed the foregoing brief with the

Clerk of the Court for the United States District Court for the District of Maryland by using the

CM/ECF system. Service on plaintiffs and FINRA was accomplished on the same date through

the CM/ECF system.


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